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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    GIFFORDS,

          Plaintiff,

                  v.                                 Civil Action No. 1:19-cv-1192 (EGS)

    FEDERAL ELECTION COMMISSION,                     REDACTED1

           Defendant.


      PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR DISCOVERY UNDER
                                RULE 56(d)

          Plaintiff seeks leave to take limited discovery into the justifications offered by Defendant

Federal Election Commission (“FEC”) for its failure to act upon the underlying complaints in this

matter, at least one of which has now been pending for over a year. The FEC disputes that the facts

Plaintiff seeks to discover are necessary to this litigation, and disputes that those facts are

discoverable. See Convertino v. U.S. Dep’t of Justice, 684 F.3d 93, 99-100 (D.C. Cir. 2012) (stating

the factors for evaluating a motion under Rule 56(d)).2 Because discovery is appropriate,

necessary, and proper, the Court should grant Plaintiff’s motion.

     I.      Discovery is appropriate and necessary to this litigation.

             A. Judicial review in this action is not limited to the FEC’s voluntary declarations.

          The FEC offers what it characterizes as “extensive precedent” to support its argument that

discovery is inappropriate in actions challenging administrative action because judicial review in



1
 This Reply contains information that is covered by the Protective Order in this case, Dkt. 16. The
protected material is redacted in this publicly filed version.
2
  The FEC does not dispute that Plaintiff has not had any opportunity to conduct discovery, and
thus the second factor under Convertino is met.
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such cases is limited to the existing administrative record. FEC’s Opp. to Pl.’s 56(d) Mot. at 1, 5,

Dkt. 30 (“Opp.”). The FEC’s argument is inapposite here. Plaintiff challenges the FEC’s inaction

on the underlying administrative complaints, and, where “an agency fails to act, there is no

‘administrative record’ for a federal court to review.” Western Watersheds Project v. Pool, 942 F.

Supp. 2d 93, 101 (D.D.C. 2013) (quoting Telecomms. Research & Action Ctr. v. FCC, 750 F.2d

70, 79 (D.C. Cir. 1984) (citation omitted)).

       Thus, “when it comes to agency inaction . . . review is not ‘limited to the record as it existed

at any single point in time, because there is no final agency action to demarcate the limits of the

record.’” Nat’l Law Center on Homelessness & Poverty v. U.S. Dep’t of Veterans Affairs, 842 F.

Supp. 2d 127, 130 (D.D.C. 2012) (quoting Friends of the Clearwater v. Dombeck, 222 F.3d 552,

560 (9th Cir. 2000)) (emphasis in original). Discovery may therefore be justified because “agency

delay is not necessarily a discrete event resulting from a decision based upon some sort of

administrative record” and “after-the-fact-justifications . . . may need to be explored by plaintiffs.”

Id.; see also Overton Park v. Volpe, 401 U.S. 402, 419 (1971) (declining to rely on affidavits

consisting merely of “post hoc rationalizations, which have traditionally been found to be an

inadequate basis for review”) (internal citation omitted). And, even in review of agency action,

“examination of decisionmakers may be required when such examination provides the only

possibility for effective judicial review and where there have been no contemporaneous

administrative findings.” Cmty. for Creative Non-Violence v. Lujan, 908 F.2d 992, 997 (D.C. Cir.

1990) (citing Overton, 401 U.S. at 420).3


3
  The requirement that an agency provide sufficient evidence to ensure effective judicial review is
the natural inverse of the test that Plaintiff must meet under Rule 56(d). If the factual basis offered
by an agency to justify its inaction in insufficient to ensure effective judicial review, then discovery
of additional facts will often be “necessary to the litigation,” and thus sufficient to meet the
plaintiff’s burden under Rule 56(d). See Convertino, 684 F.3d at 99-100.

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5701, 84-5719, 1984 WL 148396 (D.C. Cir. Oct. 24, 1984). The mere fact that the Court in Rose

found the declaration offered therein to be sufficient does not render all such future declarations

sufficient as a matter of law. See, e.g., Alliance for Democracy v. FEC, No. 1:02-cv-0527 (D.D.C.

2002) (“AFD”). In AFD, the FEC made precisely the same argument it makes here — that “the

sole issue is the timing of the Commission’s actions in this matter” such that a detailed chronology

would be sufficient to “provide all relevant information” necessary for review of the agency’s

failure to act. See Joint Report, AFD Dkt. 9. But this Court implicitly rejected that argument,

allowing the plaintiffs to propound twenty interrogatories and directing them to submit a proposed

plan for further discovery, in addition to ordering the FEC to produce a detailed chronology. Order,

AFD Dkt. 10.5

       Indeed, this Court and other courts in this district have repeatedly contemplated and

allowed discovery beyond a simple chronology in actions challenging the FEC’s failure to act

under 52 U.S.C. § 30109(a)(8)—including in several of the cases cited by the FEC in its

opposition.6 See also, e.g., Scheduling Order at 2-3, Dkt. 16, Lieu v. FEC, No. 16-cv-2201 (D.D.C.



5
  The FEC makes much of the fact that discovery was allowed in AFD under Rule 26 rather than
Rule 56(d). This is unremarkable given that the FEC had already filed an answer to the complaint,
see AFD Dkt. 7, and thus the plaintiffs’ proposal to conduct limited discovery arose out of the
parties’ conference pursuant to Rules 16(b) and 26(f). See Joint Report, AFD Dkt. 9. By contrast,
the FEC has not yet filed an answer in this action. Instead, the FEC attempted to file its motion for
summary judgment simultaneously with an unfounded motion to dismiss. See Dkt. 19. Then, the
FEC explicitly and intentionally invoked LCvR 16 as a shield against any obligation to confer
regarding discovery under Rule 26(f) until an answer was filed, forcing Plaintiff to seek discovery
under Rule 56(d) instead. The FEC’s maneuvering, rather than “expedit[ing] resolution of this
matter,” Opp. at 3, n. 1, has therefore resulted in additional delay. Thus, the FEC’s attempt to
blame Plaintiff for creating “substantial delay” by filing this motion falls flat. Id.
6
  In many of the other orders cited by Defendants, it is unclear from the record whether the
plaintiffs even sought discovery. See, e.g., Order, Democratic Senatorial Campaign Comm. v.
FEC,             No.          96-2184           (D.D.C.          Sept.          26,          1996),
https://transition.fec.gov/law/litigation/dscc_96_dc_order.pdf. It is hardly remarkable that a court
would not order discovery unsought by the parties.

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Mar. 22, 2017) (allowing for the parties to propound interrogatories in addition to requiring the

FEC to file a detailed chronology and laying out procedure for proposing additional discovery);

Mem. and Order, Common Cause v. FEC, No. 87-2224 (D.D.C. Feb. 10, 1988) (noting service by

plaintiffs of interrogatories and request for production of documents, but denying motion to

compel responses as moot);7 Order, Nat.’l Republican Cong. Committee v. FEC, No. 96-2295

(D.D.C. Oct. 7, 1996) (ordering briefing on discovery and the filing of a chronology by the FEC

shortly before a settlement was reached mooting the case).8 Taken together, these cases make clear

that a sworn chronology is not sufficient to ensure effective judicial review as a matter of law. And

the FEC has not identified any case suggesting there exists a hard and fast rule—nor even a

presumption—that judicial review in actions challenging failure to act is limited to only those facts

voluntarily presented by the defending agency.9

             C.




                                                                                              To the

contrary, Plaintiff has identified three specific questions of material fact

                                         : 1) has the FEC’s workload actually delayed action on

Plaintiff’s complaints; 2) did the shutdown actually impede the FEC’s ability to take action on

Plaintiff’s complaints; and 3)



7
    https://transition.fec.gov/law/litigation/commcause_87_dc_order.pdf
8
    https://transition.fec.gov/law/litigation/nrcc_96_dc_order.pdf
9
  Again, the FEC’s reliance, see Opp. at 10, on cases challenging administrative review is
inapposite here because the administrative record is not yet complete and is not before the Court
for review, see supra at 1-3.

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                                   ? Because the answers to these questions lie solely within the

exclusive knowledge of the FEC, discovery is not only proper, it is “most appropriate.” Am. Broad.

Cos., Inc. v. U.S. Info. Agency, 599 F. Supp. 765, 770 (D.D.C. 1984).

       As the FEC concedes, under the “well established approach in cases brought under FOIA,”

agency affidavits or supporting declarations must be “relatively detailed and non-conclusory” to

provide sufficient basis for judicial review. Opp. at 9; Shapiro v. Dep’t of Justice, 249 F. Supp. 3d

502, 505 (D.D.C. 2017). And, at least in the FOIA context, where such affidavits are inaccurate or

incomplete, “[c]ourts in this Circuit have stressed the importance of permitting . . . plaintiffs to

take depositions under rule 56(d).” Am. Broad. Cos., 599 F. Supp. at 768 (collecting cases).

       Allowing Plaintiff to take a 30(b)(6) deposition, and if necessary to propound limited

written discovery on the questions identified above, would create clarity and provide both Plaintiff

and this court with evidence essential to the effective resolution of this case.




                                                          .10



10
   To the extent the FEC relies on the shutdown as evidence of the reasonableness of any delay in
acting on the underlying complaints, it is a material and “triable” question of fact as to whether the
shutdown actually impacted its work on these matters. Cf. Opp. at 12 (faulting Plaintiff for failing
to propose discovery topics that will create a triable issue of fact.). If the FEC concedes that the
impact of the shutdown was not material to any delay in acting on the underlying matters, Plaintiff
is happy to drop this topic of inquiry. In any event, even if the government shutdown did have
some effect on the FEC’s timeline in this matter—something only discovery would illuminate—
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       There is therefore a reasonable and material question of fact as to whether the shutdown

actually delayed the FEC from taking action on Plaintiff’s complaints. A similar material issue of

fact arises out of the FEC’s reliance on general statistics related to its workload—which the FEC

has cited as “context,”                                              . The FEC has not explained

how those statistics specifically bear on Plaintiff’s administrative complaints in this matter.

Plaintiff’s request for limited discovery is aimed at answering these key factual questions, which

the FEC itself has put into play through its motion for summary judgment.




                          ]11 At issue in this case is not simply


that does not aid the FEC’s case. FEC inaction is unlawful whether or not the agency is solely to
blame for the inaction. A government shutdown, or—as is relevant now, see infra note 11—the
absence of a quorum of Commissioners, cannot prevent a plaintiff from prevailing in a delay suit.
Congress anticipated the potential risk of the Commission being prevented from acting, and
ensured that such an event would not delay enforcement of FECA. See 52 U.S.C. § 30109(a)(8)(C)
(“In any proceeding under this paragraph the court may declare that the dismissal of the complaint
or the failure to act is contrary to law, and may direct the Commission to conform within 30 days,
failing which the complainant may bring, in the name of such complainant, a civil action to remedy
the violation involved in the original complaint.”). Regardless of who is to blame for FEC delay,
Congress designed the statute under which this case is brought to ensure someone—including a
private plaintiff—could act to enforce the campaign finance laws without delay.
11
   These questions are particularly concerning after the departure of former Commissioner
Matthew Petersen, given that the FEC now lacks a quorum and will be unable to make any
enforcement decision—whether on these matters or any others—until a new Commissioner is
nominated and confirmed. See Statement of Chair Ellen Weintraub, Aug. 26, 2019,
https://www.fec.gov/resources/cms-content/documents/2019-
08_ELW_statement_on_Petersen_resignation.pdf.

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           There is no rule against discovery in actions challenging the FEC’s failure to act under

§ 30109(a)(8), nor a presumption that a voluntary declaration offered by the agency constitutes

sufficient basis for judicial review. Here, the Plaintiff has identified specific facts that

                                                       and are necessary to the litigation. Therefore,

Plaintiff has met its burden under Rule 56(d) and its motion should be granted.

     II.      The proposed discovery topics are proper and the evidence sought is discoverable.

           The FEC does not dispute that the evidence Plaintiff seeks is entirely within the FEC’s

control, but instead argues that such discovery would constitute an “improper intrusion into the

agency’s law enforcement functions and its well-established discretion” to allocate resources

among competing priorities. Opp. at 16. While it is true that Plaintiff seeks discovery beyond

                                   and general, publicly available statistics as to the workload of the

FEC’s staff, see id., the limited discovery proposed does not justify the FEC’s hyperbole.12

Plaintiff does not seek to “subject the leadership of the Office of General Counsel or even

Commissioners themselves” to examination; nor does it seek to depose any “high-ranking



12
   The FEC suggests that allowing Plaintiff to take the deposition of an FEC staff member would
be tantamount to “inject[ing] itself into the Commission’s confidential administrative enforcement
process.” Opp. at 16. Not so. Plaintiff merely seeks to obtain the information necessary to litigate
this case in the most efficient fashion. Depositions are an efficient and reliable method of obtaining
discovery, and particularly are appropriate in the context of discovery under Rule 56(d), where
time is of the essence. See Am. Broad. Cos., 599 F. Supp. at 769.

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government official.” Opp. at 17. Nor does Plaintiff seek to “probe the mental processes of

administrative decisionmakers.” Id. Plaintiff merely seeks to take the deposition of

             , or of a representative of the agency with knowledge of the topics Plaintiff has

identified, and then, only if necessary, to follow-up on that deposition by propounding limited

interrogatories and/or requests for admission.

       At issue is whether the factors asserted by the FEC as justification bear any meaningful

relationship to its delay in acting on Plaintiff’s complaints, and what specific factors, if any, have

contributed to the




               And, to the extent the FEC objects to any particular deposition or interrogatory

question it believes to be improper, the FEC’s remedy lies in standard discovery procedures, not

in prohibiting all depositions and interrogatories.

        Because the discovery proposed is necessary to the litigation, within the control of the

FEC, and properly within the scope of Plaintiff’s claim for unreasonable delay, this Court should

grant Plaintiff’s motion.



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Respectfully submitted,

 /s/ Adav Noti                               J. ADAM SKAGGS*
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 Counsel for Plaintiff

 Dated: September 13, 2019




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                               CERTIFICATE OF SERVICE

       I certify that, on September 13, 2019, a copy of the foregoing was served on all counsel

of record via the Court's CM/ECF system.




                                                /s/ Adav Noti
                                                Adav Noti




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